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UNITED STATES DISTRICT COURT
SOUTI-IERN DISTRICT OF FLORIDA
CASE NO.: 07-80138-CIV-PAlNE/JOHNSON

SAMIRA SULLIVAN, on her own behalf
and others similarly situated,

Plaintiff,
vs.

LANA MARKS LTD., INC., a Florida
corporation, and LANA J. MARKS,
individually,

Defendants.

AKERMAN SENTERFITT'S MOTION TO WITHDRAW AS COUNSEL OF RECORD
FOR DEFENDANTS.. LANA MARKS LTD., INQ. AND LANA J. MARK_S_1
W

Eric A. Gordon, Esquire, Melissa S. Zinkil, Esquire, and Akerrnan Senterfitt (hereinai°cer
collectively "Akerman Senterfitt"), pursuant to Rule 7.1, Local Rules of the U.S. District Court,
Southern District of Flon`da, hereby move the Court for an Order allowing them to Withdraw as
counsel of record for Defendants, LANA MARKS LTD, ]NC., and LANA J. MARKS,
individually, and as grounds therefor state as follows:

l. Defendants, LANA MARKS LTD., INC. and LANA J. MARKS, retained
Akerman Senterfitt to defend their interests in this matter.

2. Due to the development of irreconcilable differences between Akerman Senterfitt
and Defendants, Akerman Senteriitt and Defendants have jointly decided to terminate this
representation

3. Defendants have no objection to this motion, and are in the process of retaining

new counsel to represent them in this matter.

1WP400131;1}
AKERMAN SENTERF:TT, 222 LAKElew AvENuE, SulTE 400, WF.sT PALM BEAcH, FL 33401-6183

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Motion to Withdraw as Counsel of Record

 

4. Akerrnan Senterfitt requests that Defendants be given thirty (30) days to retain
new counsel, and that all proceedings be stayed during that period oftirne.

5. The undersigned certifies that the requested enlargement of time is not being
sought for purposes of delay or for any other improper purpose. Further, the granting of this
motion will not result in any prejudice to Plaintiff as this matter is in still in its very early stages
and is not yet set for trial.

6. Akerrnan Senterfitt is providing a copy of this Motion to Defendants by facsimile
and U.S. Mail to Defendants' last known address as follows:

Lana Marks Ltd., Inc.

125 Worth Avenue, Ste. 221
Palrn Beach, Florida 33480

7. Additionally, a copy of this Motion has been served upon Plaintiffs counsel via

facsimile and U.S. Mail.
CERTIFICATE OF CONFERENCE

Pursuant to Local Rule 7.1(A)(3), the undersigned counsel has conferred with counsel for
Plaintiff who has agreed to the Withdrawal, but who has not agreed with the amount of time
requested to retain new counsel

WHEREFORE, Eric A. Gordon, Melissa S. Zinkil and Akerman Senterfitt, respectfully
request that this Court enter an Order granting Akennan Senteriitt's Motion to Withdraw As
Counsel of Record for Defendants, LANA MARKS LTD., INC. and LANA J. MARKS, that
Akerman Senteriitt be relieved of any further responsibilities and obligations in connection with
this matter, and that Defendants be permitted thirty (30) days to retain new Florida counsel, as
set forth in the proposed Order attached hereto as Exhibit "A," and for such additional relief as

the Court deems just and proper.

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AKERMAN SENTERF:TT, 222 LAKEvlF.w AvENuE, Sul'rE 400, WEsT PALM BEAcH, FL 33401-6183

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Dated: May 25, 2007
West Palm Beach, FL

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Motion to Withdraw as Counsel of Record

 

Respectfully submitted,

/s/ Eric A. Gordon

Eric A. Gordon (Florida Bar No. 071341)
E-mail: eric.gordon@akerman.com
Melissa S. Zinkil (Florida Bar No. 0653713)
E-mail: melissa.zinkil@akerrnan.com
AKERMAN SENTERFITT

222 Lakeview Avenue, Suite 400

West Pa]rn Beach, FL 33401-6183
Telephone: 561.653.5000

Facsirnile: 561 .659.6313

Attorneys for Defendants,

Lana Marlcs' Ltd., Inc. and Lana .L Mark.s‘,
individually

CERTIFICATE OF SERVICE

I hereby certify that on May 25, 2007, l electronically filed the foregoing document with
the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served
this day on all counsel of record identified on the attached Service List in the manner specified,
either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other
authorized manner for those counsel or parties who are not authorized to receive electronically

Notices of Electronic Filing.

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/s/ Eric A. Gordon

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AKERMAN SENTERFlrr, 222 LAKElew AvENuE, SulTE 400, WEsT PALM BEAcl-r, FL 33401-6183

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SERVICE LIST

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United States District Court, Southern District of Florida

Stacey H. Cohen, Esq. Eric A. Gordon, Esq.

E-mail: cohen@shavitzlaw.com E-mail: eric.gordon@akennan.com
SHAVITZ LAW GROUP, P.A. AK_ERMAN SENTERFITT

1515 S. Federal Highway, Suite 404 222 Lakeview Ave., Suite 400

Boca Raton, Florida 33432 West Palm Beach, Florida 33401
Telephone: 561.447.8888 Telephone: 561.653.5000

Facsimile: 561 .447.8831 Facsimile: 561.659.6313

Attorneys for Plainti)j€ Samz'm Sullivan Attomeys for Defendants, Lana Marlcs Ltd.,
Service by Facsimile and Notice of Electronic Inc. and Lana J. Mar!cs, individually
Filing Service by Notice of Electronic Filing
Lana J. Marks

Lana Marks Ltd., Inc.

125 Worth Avenue, Ste. 221

Palm Beach, Florida 33480
Telephone: 561.655.3155
Facsimile: 561.655.2799
Defendants

Service by Facsimile and U.S. Mail

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